Case 6:09-bk-09229-ABB Doci12 Filed 07/23/09 Page1of4

B23 (Official Form 23) (12/07)
United States Bankruptcy Court
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In re f r\cC AVAL Q OV YE Case No. 04-01 294- ABS
Debtor Chapter 7)

DEBTOR’S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

«Every individual debtor in a chapter 7, chapter 11 in which § 1141(a}(3) applies, or chapter 13 case must file thi
certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete one of tk
following statements and file by the deadly stated below:

wo er CeENRAO : OMMr> , the debtor in the above-styled case, hereby
: (Prinfte, (4 of Debtor)

certify that o
provided by

ate), an instructtpnalgourse in personal financial managemeat

, ah approved personal financial

“(Name of Provider}
management provider.

Certificate No. (if any): OO 244- ELM- DE~ OO TO\ ISS -

CI 1, , the debtor in the above-styled oase, hereby _
(Printed Name of Debtor}
certify that oo personal financial management course is required because of [Check the appropriate box}.
L] Incapacity or disability, as defined in 11 U.S.C. § 109(h);
(J Active military duty in a military combat zone; or .
T] Residence in a district in which the United States trustee (or bankruptcy administrator) has determined ths
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherw,

be required to complete ———
Signature of Debtor: SS se

te Vf

Date:

Instructions; Use this form only to certify whether you completed a course in personal financial management. (Feay
Bankr. P. 1007(6}(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
provider and'do NOT include with the petition when filing your case.

Filing Deadlines: In a chapter 7 case, file within 45 days of the first date set for the meeting of oreditars under
§ 341 of the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as
required by the plan or the filing of a motion for entry ofa discharge under § 1328(b) of the Code, (See Fed, R. Bank p.
1007(c).}
Jul, 8 2009 12:G52M 6:0G0NRUNSR ACM BEDUNEIGE A INEiled 07/23/09 Pagdoepy °. 2

—-—_-———_—-

Certificate Number: 00349-FLM-DE-007611685

Bankruptcy Case Number. 09-09229
CERTIFICATE OF DEBTOR EDUCATION
I certify that on July 8, 2009 , at 12:19 o'clock PM EDT ,
Fernando Roman completed a course on persona] financial
management given by internet and telephone by
Consumer Debt Counselors

a provider approved pursuant to 11 U.S.C. § 11] to provide an instructional course conceming

personal financial management in the Middle District of Florida

Date: July 8, 2009 By /s/Sheila Padua

Name Sheila Padua

Title Counselor

Case 6:09-bk-09229-ABB Doci12 Filed 07/23/09 Page 3of4

B23 (Official Form 23) (12/07)

United States Bankruptcy Court

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V Debtor
Chapter )

DEBTOR’S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

_ Every individual debtor in a chapter 7, chapter 1] in which § 1141(d)(3) applies, or chapter 13 ease must file this
certification. Ifa joint petition iv filed; gach spouse must complete and file a separate cerlification. Complete one of te
following statements and file by the degdline stated below:

ner

, the debtor in the above-styled case, hereby

Oo Sie y of Dabtor) . .
certify that 0 Sl Date},q completed an instyyctional course in personal financial management
provided by , at approved personal financial

(Name of Provider)

thanagement provider.

Certificate No. (if any): 00 2Y4- FLU- DE- 00 T@I | 100

Ci, __, the debtor in the above-styled case, hereby
(Printed Name of Debtor)

certify that no personal financial management course is required because of [Check the appropriate box:

Ci Incapacity or disability, as defined in 11 U.8.C. § 109(h);

(Active military duty in a military combat zone; or

CO Residence in a district in which the United States trustee (or banicruptcy administrator) has determined the
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwi,
be required to complete such courses.

Signature of Debt Conia
ignature of De (Muze

Date:

Instructions: Use this form only to certify whether you completed a course in personal financial management, (Fedy
Bankr, F. 1007(6}(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
provider and do NOT include with the petition when filing your case.

Filing Deadlines: In a chapter 7 case, file within 45 days of the first date set for the meeting of creditors under
§ 341 of the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as
required by the plan or the filing of a motion for entry of a discharge under § 1328(b) of the Code, (See Fed. R. Bank p
1007(c).)
Jul. 8 2009 12:G586 6:0OWRWOERTEHBEUNBORD INFiled 07/23/09 Pagdlu 6fap °. 3

Certificate Number: 00349-FLM-DE-007611700

Bankruptcy Case Number: 09-09229

CERTIFICATE OF DEBTOR EDUCATION

I certify that on July 8, 2009 , at 12:20 o’clock PM EDT ;
Michelle Roman completed a course on personal financial
management given by internet and telephone by

Consumer Debt Counselors

a provider approved pursuant to 11 U.S.C. § 111 to provide an instructional course concerning

personal financial management in the Middle District of Florida

Date: July 8, 2009 By /s/Sheila Padua

Name Sheila Padua

Title Counselor

